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                               Exhibit 26



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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                                                                           Page 242
               UNITED STATES DISTRICT COURT

             FOR THE DISTRICT OF MASSACHUSETTS

     --------------------------- X

    IN RE PHARMACEUTICAL         )

    INDUSTRY AVERAGE WHOLESALE ) MDL No. 1456

    PRICE LITIGATION,            ) Civil Action No

    THIS DOCUMENT RELATES TO:    ) 01-12257-PBS

    United States of America,    ) Judge Patti B.

    ex rel. Ven-A-Care of the    ) Saris

    Florida Keys, Inc., v.       ) Mag. Judge

    Abbott Laboratories Inc.     ) Marianne Bowler

    Civil Action No.             )

    06-11337-PBS                 )

     --------------------------- X

            (cross-captions on following pages)



                             Washington, D.C.

                             Thursday, March 27, 2008

                             9:40 a.m.



          Videotaped deposition of DENNIS G. SMITH

                        Volume II




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                                                                           Page 243
  1
                      UNITED STATES DISTRICT COURT
  2
                   FOR THE DISTRICT OF MASSACHUSETTS
  3
      - - - - - - - - - - - - - - -
  4
      IN RE: PHARMACEUTICAL                      ) MDL NO. 1456
  5
      INDUSTRY AVERAGE WHOLESALE                 ) CIVIL ACTION:
  6
      PRICE LITIGATION                           ) 01-CV-12257-PBS
  7
      - - - - - - - - - - - - - - -
  8
      THIS DOCUMENT RELATES TO:                  ) JUDGE PATTI B. SARIS
  9
      ALL CASES IN MDL NO. 1456                  ) MAGISTRATE JUDGE
10
      - - - - - - - - - - - - - - -                  MARIANNE B. BOWLER
11

12
                            IN THE CIRCUIT COURT OF
13
                         MONTGOMERY COUNTY, ALABAMA
14
      - - - - - - - - - - - - - - -
15
      IN THE MATTER OF:                          )
16
      ALABAMA MEDICAID                           ) MASTER DOCKET NO.
17
      PHARMACEUTICAL AVERAGE                     )       CV-2005-219
18
      WHOLESALE PRICE LITIGATION                 )
19
      - - - - - - - - - - - - - - -
20
      THIS DOCUMENT RELATES TO:                  )
21
      ALL ACTIONS                                )
22
      - - - - - - - - - - - - - - -

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                                                                           Page 314
  1
               Q.     -- amend their state plan --
  2
               A.     Yes.
  3
               Q.     -- and come up with some new formula,
  4
      whatever that formula is?
  5
               A.     Yes.
  6
               Q.     Based upon AMP?
  7
               A.     Yes.
  8
               Q.     But you can't simply take AWP out and
  9
      substitute AMP into the existing formula to come
10
      up with what the Medicaid program should pay,
11
      right?
12
                      MS. MARTINEZ:          Objection.        Form.
13
                      THE WITNESS:         No.     You would have to
14
      submit a state plan to have permission to pay
15
      differently, but presumably that is what states
16
      will do.
17
      BY MR. COOK:
18
               Q.     And today, because they're paying at
19
      published AWPs minus 5 percent, Alaska is not
20
      overpaying for its drugs in a technical sense?
21
                      MS. MARTINEZ:          Objection.        Form.
22
                      THE WITNESS:         Well, again, I think

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                                                                           Page 315
  1
      there is an underlying assumption that AWPs are
  2
      accurately being reported.                 And so when -- they
  3
      are saying we will pay on a 5 percent discount
  4
      off an accurately reported AWP.                    But if the AWP
  5
      is not accurate, then the state may not have any
  6
      -- they're paying off AWP minus 5 believing they
  7
      are paying accurately.               But if the AWPs
  8
      themselves are wrong, then they are
  9
      unintentionally paying wrong.
10
      BY MR. COOK:
11
               Q.     But in terms of the laws and the
12
      regulations that the govern state Medicaid
13
      program, the state is complying with those laws
14
      and regulations, correct?
15
                      MS. MARTINEZ:          Objection.        Form.
16
                      MR. WINGET-HERNANDEZ:              Objection.
17
      Form.
18
                      THE WITNESS:         They are paying off an
19
      approved state plan.
20
      BY MR. COOK:
21
               Q.     And they are complying with the
22
      estimated acquisition cost regulations that

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                                                                           Page 430
  1
                      MS. MARTINEZ:          Objection.        Form.
  2
                      THE WITNESS:         I don't -- I would not
  3
      agree that that encompasses the entirety of how
  4
      AWP is relied upon by all purchasers.                       I think
  5
      this is overly simplified.                 I would agree that it
  6
      is not further defined in law or regulation.                                AWP
  7
      is average wholesale price.
  8
      BY MR. MERKL:
  9
               Q.     When you say it's not further defined,
10
      it's not defined anywhere at all, is it?
11
                      MS. MARTINEZ:          Objection.        Form.
12
                      THE WITNESS:         There is no definition,
13
      precise.
14
      BY MR. MERKL:
15
               Q.     And then it continues, "Manufacturers
16
      periodically report AWPs to publishers of drug
17
      pricing data" --
18
               A.     Again, if I can go back, what I -- what
19
      I was referring to in saying that's I don't think
20
      how -- entirely accurate that the manufacturer is
21
      free to set any -- to set an AWP at any level.
22
               Q.     Well, is there some rule that

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                                                                           Page 562
  1
      Gortner, Roxane.            Objection.        Form.      Excuse me,
  2
      Mr. Smith.
  3
                      THE WITNESS:         I think the -- again,
  4
      reading the letter, I -- I think the letter
  5
      refers specifically to how they use the rebate
  6
      information, including the URA, which, again,
  7
      they have, so how can they use that or not.                               But
  8
      it is confirming that they may not use the --
  9
      they may not use the rebate information for
10
      calculating their estimated acquisition cost for
11
      reimbursement.
12
      BY MR. WINGET-HERNANDEZ:
13
               Q.     Okay.     All right.         Let's back up a
14
      little bit.         Just as plainly as you can, tell us,
15
      what is the unit rebate amount?                    To move things
16
      along, let me just ask you this way.
17
               A.     Okay.
18
               Q.     Is the unit rebate amount a certain --
19
      in the case of generic drugs, a particular
20
      percentage of the average manufacturer's price?
21
               A.     Correct.       You're looking at each
22
      individual drug.

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                                                                           Page 580
  1
                      MR. WINGET-HERNANDEZ:              Objection.
  2
      Form.
  3
                      MS. MARTINEZ:          Objection.        Form.
  4
                      THE WITNESS:         In that respect I would
  5
      say now you are using it.                 And whether or not the
  6
      confidentiality applies to using that
  7
      information...
  8
      BY MR. COOK:
  9
               Q.     But you would agree with me that it's
10
      possible to set MACs for drugs without setting
11
      that MAC based upon the AMP, right?
12
               A.     You can set a MAC without the
13
      information.         You can -- but in what you were
14
      describing to me, what you're saying is now I am
15
      going to start using it.
16
               Q.     But what I am asking you is a different
17
      mechanism; that is, using the AMP to identify
18
      which drugs should be subject to a MAC, and then
19
      actually picking the number for the MAC in
20
      whatever other mechanism is available to the
21
      state or used by the state for setting MACs.                                Do
22
      you understand what I am saying?

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                                                                           Page 581
  1
                      MS. MARTINEZ:          Objection.        Form.
  2
                      THE WITNESS:         I understand what you're
  3
      saying.        I -- again, my understanding is about
  4
      use, and my understanding of the confidentiality
  5
      is the state can't use it.                 And we told states
  6
      they couldn't use it, specifically post-DRA,
  7
      because -- until we had the final regulation, et
  8
      cetera.
  9
      BY MR. COOK:
10
               Q.     And there certainly are uses of AMP for
11
      setting a MAC or setting EAC which would reveal
12
      the AMP to the world, right?                  For example, if the
13
      AMP became the MAC, or twice the AMP became the
14
      MAC, right?
15
               A.     Again, if you were describing what you
16
      were doing, then you would be revealing it.
17
               Q.     Right.      And that is what -- I think
18
      that, we both can agree, would -- or we both can
19
      agree you would consider it to be a breach of the
20
      confidentiality provision, right?
21
               A.     Yes.
22
               Q.     But to use another mechanism that did

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